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14                       UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
16
17   MARISA ISBEL HERNANDEZ OBO ) No. 2:23-cv-05818-MAA
18   J.A.M.H.,                     )
                                   ) [PROPOSED] JUDGMENT
19         Plaintiff,              )
20                                 )
                  v.               )
21
                                   )
22
     KILOLO KIJAKAZI,              )
23   Acting Commissioner of Social )
     Security,                     )
24                                 )
25         Defendant.
26
27
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 1         The Court having approved the parties’ stipulation to remand this case
 2   pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
 3   with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
 4   entered for Plaintiff.
 5
 6             September 14, 2023
     DATED:
 7                             HONORABLE JUDGE MARIA A. AUDERO
                               UNITED STATES MAGISTRATE JUDGE
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